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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 GENTEX CORPORATION, a Delaware
 Corporation,

                 Plaintiff,                         Case No. 19-921-MN

   v.

 GALVION LTD. and GALVION INC.,

                 Defendants.


  JOINT MOTION AND [PROPOSED] ORDER TO AMEND SCHEDULING ORDER

         Plaintiff Gentex Corporation (“Gentex”) and Defendants Galvion Ltd. and Galvion Inc.

(together, “Galvion”) (collectively, the “Parties”) respectfully request that the Court amend the

Scheduling Order (D.I. 92) in the instant action in the manner set forth below.

   Scheduling
     Order                    Event            Current Deadline           Amended Deadline
   Paragraph

        N/A         Gentex identifies no
                    more than twenty (20)              N/A              August 27, 2021
                    asserted claims

        N/A         Galvion identifies no
                    more than three (3)
                                                       N/A              September 3, 2021
                    invalidity grounds for
                    each asserted claim

                    Opening Expert
        ¶ 8(f)      Reports on Issues for
                    which                    September 7, 2021          September 24, 2021
                    the Party Bears the
                    Burden of Proof

        ¶ 8(f)      Rebuttal Expert
                                             October 7, 2021            October 20, 2021
                    Reports

        ¶ 8(f)      Reply Expert Reports     November 5, 2021           November 12, 2021
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      ¶ 8(a)          Close of Expert
                                             December 8, 2021            December 17, 2021
                      Discovery

       The remaining deadlines in the Scheduling Order, including those for dispositive motions

and trial remain unchanged.

       The Parties submit that good cause exists for this proposed scheduling amendment as this

amendment enables the Parties sufficient time to narrow the asserted claims and invalidity

references in advance of expert discovery while maintaining the current dispositive motion and

trial dates. Accordingly, the Parties respectfully request that the Court extend the case deadlines

as set forth above.

       Pursuant to Local Rule 16.4, the undersigned counsel for each Party certifies that it has

provided a copy of the instant motion to its respective client(s) and obtained the client(s)’ consent

to this requested scheduling amendment.

Dated: August 3, 2021                                Respectfully submitted,

 MORGAN, LEWIS & BOCKIUS LLP                         SHAW KELLER LLP


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                                                     Attorneys for Defendants


       SO ORDERED this            day of August, 2021.

                                                              ___________________________
                                                              The Honorable Maryellen Noreika

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